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                       IN THE UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF NEW MEXICO

UNITED STATES OF AMERICA

       Plaintiff/Respondent,

vs.                                                                 Nos. CIV 16-0932 JB/LAM
                                                                         CR 12-3182 JB

CHRISTOPHER M. ROYBAL,

       Defendant/Movant.

MEMORANDUM OPINION AND ORDER ADOPTING THE MAGISTRATE JUDGE’S
      PROPOSED FINDINGS AND RECOMMENDED DISPOSITION

       THIS MATTER comes before the Court on the Magistrate Judge’s Proposed Findings

and Recommended Disposition, filed March 24, 2017 (Doc. 10)(“PFRD”), which recommends

denying Defendant/Movant’s Motion Under 28 U.S.C. § 2255 to Vacate, Set Aside, or Correct

Sentence by a Person in Federal Custody, filed August 15, 2016 (Doc. 1)(“§ 2255 Motion”). No

party has filed objections to the PFRD, and the deadline for filing objections has passed. While

the Court did not conduct a de novo review, it conducted enough of a review to determine that it

can say that the Honorable Judge Mártinez’, United States Magistrate Judge for the District of

New Mexico, findings and recommended disposition in the PFRD are not clearly erroneous,

arbitrary, obviously contrary to law, or an abuse of discretion. Accordingly, the Court will:

(i) adopt the PFRD; (ii) deny Defendant’s § 2255 Motion; and (iii) enter a final judgment

dismissing this case with prejudice.

                     FACTUAL AND PROCEDURAL BACKGROUND

       The PFRD thoroughly laid out the relevant factual and procedural background to this case.

The Court will not repeat that background here.
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           LAW REGARDING OBJECTIONS TO PROPOSED FINDINGS AND
                          RECOMMENDATIONS

       District courts may refer dispositive motions to a Magistrate Judge for a recommended

disposition. See Fed. R. Civ. P. 72(b)(1) (“A magistrate judge must promptly conduct the

required proceedings when assigned, without parties’ consent, to hear a pretrial matter dispositive

of a claim or defense . . . .”). Rule 72(b)(2) governs objections: “Within 10 days after being

served with a copy of the recommended disposition, a party may serve and file specific written

objections to the proposed findings and recommendations.” Finally, when resolving objections to

a Magistrate Judge’s proposal, “the district judge must determine de novo any part of the

magistrate judge’s disposition that has been properly objected to. The district judge may accept,

reject, or modify the recommended disposition; receive further evidence; or return the matter to the

magistrate judge with instructions.” Fed. R. Civ. P. 72(b)(3).

       Similarly, 28 U.S.C. § 636 provides:

       A judge of the court shall make a de novo determination of those portions of the
       report or specified proposed findings or recommendations to which objection is
       made. A judge of the court may accept, reject, or modify, in whole or in part, the
       findings or recommendations made by the magistrate judge. The judge may also
       receive further evidence or recommit the matter to the magistrate judge with
       instructions.

28 U.S.C. § 636(b)(1)(C).

       “The filing of objections to the magistrate’s report enables the district judge to focus

attention on those issues -- factual and legal -- that are at the heart of the parties’ dispute.” United

States v. One Parcel of Real Property, With Buildings, Appurtenances, Improvements, and

Contents, 73 F.3d 1057, 1059 (10th Cir. 1996)(“One Parcel”)(quoting Thomas v. Arn, 474 U.S.

140, 147 (1985)). As the Tenth Circuit has noted, “the filing of objections advances the interests




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that underlie the Magistrate’s Act,[1] including judicial efficiency.” One Parcel, 73 F.3d at 1059

(citing Niehaus v. Kansas Bar Ass’n, 793 F.2d 1159, 1165 (10th Cir. 1986); United States v.

Walters, 638 F.2d 947, 950 (6th Cir. 1981)).

        The Tenth Circuit held in One Parcel “that a party’s objections to the magistrate judge’s

report and recommendation must be both timely and specific to preserve an issue for de novo

review by the district court or for appellate review.” One Parcel, 73 F.3d at 1060. “To further

advance the policies behind the Magistrate’s Act, [the Tenth Circuit], like numerous other circuits,

ha[s] adopted ‘a firm waiver rule’ that ‘provides that the failure to make timely objections to the

magistrate’s findings or recommendations waives appellate review of both factual and legal

questions.’” One Parcel, 73 F.3d at 1059 (citations omitted). In addition to requiring specificity

in objections, the Tenth Circuit has stated that “[i]ssues raised for the first time in objections to the

magistrate judge’s recommendation are deemed waived.” Marshall v. Chater, 75 F.3d 1421,

1426 (10th Cir. 1996). See United States v. Garfinkle, 261 F.3d 1030, 1030-31 (10th Cir. 2001)

(“In this circuit, theories raised for the first time in objections to the magistrate judge’s report are

deemed waived.”). And, in an unpublished opinion, the Tenth Circuit stated that “the district

court correctly held that [a petitioner] had waived [an] argument by failing to raise it before the

magistrate.” Pevehouse v. Scibana, 229 F. App’x 795, 796 (10th Cir. 2007)(unpublished).2

        1
            28 U.S.C. §§ 631-39.
        2
         Pevehouse v. Scibana is an unpublished opinion, but the Court can rely on an unpublished
opinion to the extent its reasoned analysis is persuasive in the case before it. See 10th Cir. R.
32.1(A) (“Unpublished opinions are not precedential, but may be cited for their persuasive
value.”). The Tenth Circuit has stated:

        In this Circuit, unpublished orders are not binding precedent, . . . and we have
        generally determined that citation to unpublished opinions is not favored.
        However, if an unpublished opinion or order and judgment has persuasive value
        with respect to a material issue in a case and would assist the court in its
        disposition, we allow a citation to that decision.


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       In One Parcel, the Tenth Circuit, in accord with other Courts of Appeals, expanded the

waiver rule to cover objections that are timely but too general. See One Parcel, 73 F.3d at 1060.

The Supreme Court of the United States -- in the course of approving the United States Court of

Appeals for the Sixth Circuit’s use of the waiver rule -- has noted:

       It does not appear that Congress intended to require district court review of a
       magistrate’s factual or legal conclusions, under a de novo or any other standard,
       when neither party objects to those findings. The House and Senate Reports
       accompanying the 1976 amendments do not expressly consider what sort of review
       the district court should perform when no party objects to the magistrate’s report.
       See S. Rep. No. 94-625, pp. 9-10 (1976)(hereafter Senate Report); H.R. Rep. No.
       94-1609, p. 11 (1976); U.S. Code Cong. & Admin. News 1976, p. 6162 (hereafter
       House Report). There is nothing in those Reports, however, that demonstrates an
       intent to require the district court to give any more consideration to the magistrate
       judge’s report than the court considers appropriate. Moreover, the Subcommittee
       that drafted and held hearing on the 1976 amendments had before it the guidelines
       of the Administrative Office of the United States Courts concerning the efficient
       use of magistrates. Those guidelines recommended to the district courts that
       “[w]here a magistrate makes a finding or ruling on a motion or an issue, his
       determination should become that of the district court, unless specific objection is
       filed within a reasonable time.” See Jurisdiction of the United States Magistrates,
       Hearings on S. 1283 before the Subcommittee on Improvements in Judicial
       Machinery of the Senate Committee on the Judiciary, 94th Cong., 1st Sess., 24
       (1975)(emphasis added)(hereafter Senate Hearings). The Committee also heard
       Judge Metzner of the Southern District of New York, the chairman of a Judicial
       Conference Committee on the administration of the magistrate system, testify that
       he personally followed that practice. See id., at 11 (“If any objections come in, . .
       . I review [the record] and decide it. If no objections come in, I merely sign the
       magistrate’s order.”). The Judicial Conference of the United States, which
       supported the de novo standard of review eventually incorporated in
       § 636(b)(1)(C), opined that in most instances no party would object to the
       magistrate’s recommendation, and the litigation would terminate with the judge’s
       adoption of the magistrate’s report. See Senate Hearings, at 35, 37. Congress
       apparently assumed, therefore, that any party who was dissatisfied for any reason
       with the magistrate’s report would file objections, and those objections would
       trigger district court review. There is no indication that Congress, in enacting
       § 636(b)(1)(C), intended to require a district judge to review a magistrate’s report
       to which no objections are filed. It did not preclude treating the failure to object as


United States v. Austin, 426 F.3d 1266, 1274 (10th Cir. 2005)(citations omitted). The Court
concludes that Pevehouse v. Scibana has persuasive value with respect to a material issue, and will
assist the Court in its disposition of this Memorandum Opinion and Order.



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       a procedural default, waiving the right to further consideration of any sort. We
       thus find nothing in the statute or the legislative history that convinces us that
       Congress intended to forbid a rule such as the one adopted by the Sixth Circuit.

Thomas v. Arn, 474 U.S. at 150-52 (emphasis in original)(footnotes omitted).

       The Tenth Circuit also noted, “however, that ‘[t]he waiver rule as a procedural bar need not

be applied when the interests of justice so dictate.’” One Parcel, 73 F.3d at 1060 (quoting Moore

v. United States, 950 F.2d 656, 659 (10th Cir. 1991)(“We join those circuits that have declined to

apply the waiver rule to a pro se litigant’s failure to object when the magistrate’s order does not

apprise the pro se litigant of the consequences of a failure to object to findings and

recommendations.”)(citations omitted). Cf. Thomas v. Arn, 474 U.S. at 154 (noting that, while

“[a]ny party that desires plenary consideration by the Article III judge of any issue need only ask,”

a failure to object “does not preclude further review by the district judge, sua sponte or at the

request of a party, under a de novo or any other standard”). In One Parcel, the Tenth Circuit noted

that the district judge had decided sua sponte to conduct a de novo review despite the lack of

specificity in the objections, but the Tenth Circuit held that it would deem the issues waived on

appeal because it would advance the interests underlying the waiver rule. See 73 F.3d at 1060-61

(citing cases from other Courts of Appeals where district courts elected to address merits despite

potential application of waiver rule, but the Courts of Appeals opted to enforce waiver rule).

       Where a party files timely and specific objections to the Magistrate Judge’s proposed

findings and recommendations, “on [] dispositive motions, the statute calls for a de novo

determination, not a de novo hearing.” United States v. Raddatz, 447 U.S. 667, 674 (1980).

“[I]n providing for a ‘de novo determination’ rather than a de novo hearing, Congress intended to

permit whatever reliance a district judge, in the exercise of sound judicial discretion, chose to place

on a magistrate’s proposed findings and recommendations.” United States v. Raddatz, 447 U.S.




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at 676 (quoting 28 U.S.C. § 636(b); citing Mathews v. Weber, 423 U.S. 261, 275 (1976)). The

Tenth Circuit requires a “district court to consider relevant evidence of record and not merely

review the magistrate judge’s recommendation” when conducting a de novo review of a party’s

timely, specific objections to the magistrate’s report. In re Griego, 64 F.3d 580, 583-84 (10th Cir.

1995). “When objections are made to the magistrate’s factual findings based on conflicting

testimony or evidence . . . the district court must, at a minimum, listen to a tape recording or read a

transcript of the evidentiary hearing.” Gee v. Estes, 829 F.2d 1005, 1008-09 (10th Cir. 1987).

       A district court must “clearly indicate that it is conducting a de novo determination” when

a party objects to the Magistrate Judge’s report “based upon conflicting evidence or testimony.”

Gee v. Estes, 829 F.2d at 1009. On the other hand, a district court fails to meet the requirements

of 28 U.S.C. § 636(b)(1) when it indicates that it gave “considerable deference to the magistrate’s

order.” Ocelot Oil Corp. v. Sparro Indus., 847 F.2d 1458, 1464 (10th Cir. 1988). A district court

need not, however, “make any specific findings; the district court must merely conduct a de novo

review of the record.” Garcia v. City of Albuquerque, 232 F.3d 760, 766 (10th Cir. 2000).

“[T]he district court is presumed to know that de novo review is required. . . . Consequently, a

brief order expressly stating the court conducted de novo review is sufficient.” Northington v.

Marin, 102 F.3d 1564, 1570 (10th Cir. 1996)(citing In re Griego, 64 F.3d at 583-84). “[E]xpress

references to de novo review in its order must be taken to mean it properly considered the pertinent

portions of the record, absent some clear indication otherwise.” Bratcher v. Bray-Doyle Indep.

Sch. Dist. No. 42, 8 F.3d 722, 724 (10th Cir. 1993). The Tenth Circuit has previously held that a

district court properly conducted a de novo review of a party’s evidentiary objections when the

district court’s “terse” order contained one sentence for each of the party’s “substantive claims”

and did “not mention his procedural challenges to the jurisdiction of the magistrate to hear the




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motion.” Garcia v. City of Albuquerque, 232 F.3d at 766. The Tenth Circuit has explained that

brief district court orders that “merely repeat the language of § 636(b)(1) to indicate its

compliance” are sufficient to demonstrate that the district court conducted a de novo review:

       It is common practice among district judges in this circuit to make such a statement
       and adopt the magistrate judges’ recommended dispositions when they find that
       magistrate judges have dealt with the issues fully and accurately and that they could
       add little of value to that analysis. We cannot interpret the district court’s statement
       as establishing that it failed to perform the required de novo review.

In re Griego, 64 F.3d at 584.

       Notably, because a district court may place whatever reliance it chooses on a Magistrate

Judge’s proposed findings and recommendations, a district court “may accept, reject, or modify, in

whole or in part, the findings or recommendations made by the magistrate,” 28 U.S.C. § 636(b)(1),

as “Congress intended to permit whatever reliance a district judge, in the exercise of sound judicial

discretion, chose to place on a magistrate’s proposed findings and recommendations,” United

States v. Raddatz, 447 U.S. at 676 (emphasis omitted). See Bratcher v. Bray-Doyle Indep. Sch.

Dist. No. 42, 8 F.3d at 724-25 (holding that the district court’s adoption of the Magistrate Judge’s

“particular reasonable-hour estimates” is consistent with the de novo determination that 28 U.S.C.

§ 636(b)(1) and United States v. Raddatz require).

       Where no party objects to the Magistrate Judge’s proposed findings and recommended

disposition, the Court has, as a matter of course in the past and in the interests of justice, reviewed

the Magistrate Judge’s recommendations. In Pablo v. Soc. Sec. Admin., 2013 WL 1010401

(D.N.M. 2013)(Browning, J.), the plaintiff failed to respond to the Magistrate Judge’s proposed

findings and recommended disposition, and thus waived his right to appeal the recommendations,

but the Court nevertheless conducted a review. The Court generally does not, however, “review

the PF&RD de novo, because the parties had not objected thereto, but rather review[s] the




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recommendations to determine whether they clearly erroneous, arbitrary, obviously contrary to

law, or an abuse of discretion.” Pablo v. Soc. Sec. Admin., 2013 WL 1010401, at *4. The Court,

thus, does not determine independently what it would do if the issues had come before the Court

first, but rather adopts the proposed findings and recommended disposition where “[t]he Court

cannot say that the Magistrate Judge’s recommendation . . . is clearly erroneous, arbitrary,

obviously contrary to law, or an abuse of discretion.” Pablo v. Soc. Sec. Admin., 2013 WL

1010401, at *4. See Alexandre v. Astrue, 2013 WL 1010439, at *4 (D.N.M. 2013)(Browning,

J.)(“The Court rather reviewed the findings and recommendations of the Honorable Stephan M.

Vidmar, United States Magistrate Judge, to determine if they are clearly erroneous, arbitrary,

obviously contrary to law, or an abuse of discretion. The Court determines that they are not, and

will therefore adopt the PFRD.”); Trujillo v. Soc. Sec. Admin., 2013 WL 1009050, at *5 (D.N.M.

2013)(Browning, J.)(adopting the proposed findings and conclusions, noting: “The Court did not

review the ARD de novo, because Trujillo has not objected to it, but rather reviewed the . . .

findings and recommendations to determine if they are clearly erroneous, arbitrary, obviously

contrary to law, or an abuse of discretion, which they are not.”). This review, which is deferential

to the Magistrate Judge’s work when there is no objection, nonetheless provides some review in

the interest of justice, and seems more consistent with the waiver rule’s intent than no review at all

or a full-fledged review. Accordingly, the Court considers this standard of review appropriate.

See Thomas v. Arn, 474 U.S. at 151 (“There is nothing in those Reports, however, that

demonstrates an intent to require the district court to give any more consideration to the

magistrate’s report than the court considers appropriate.”). The Court is reluctant to have no

review at all if its name is going at the bottom of the order adopting the Magistrate Judge’s

proposed findings and recommendations.




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                                           ANALYSIS

       Although no party objected to the PFRD before the deadline to do so, the Court has

reviewed the PFRD. The Court determines that Judge Mártinez’ findings and recommended

disposition in the PFRD are not clearly erroneous, arbitrary, obviously contrary to law, or an abuse

of discretion. The Court will, therefore, adopt the PFRD as its own.

       IT IS ORDERED that: (i) the Magistrate Judge’s Proposed Findings and Recommended

Disposition, filed March 24, 2017 (Doc. 10), are adopted; (ii) the Defendant/Movant’s Motion

Under 28 U.S.C. § 2255 to Vacate, Set Aside, or Correct Sentence by a Person in Federal Custody,

filed August 15, 2016 (Doc. 1), is denied; and (iii) this case is dismissed with prejudice, and final

judgment is entered concurrently with this order.



                                                          ________________________________
                                                          UNITED STATES DISTRICT JUDGE

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